          USCA Case #22-7063
                                                 UNITED STATES COURT OF Filed:
                                                     Document #1976789
                                                                         APPEALS
                                                                               12/07/2022                                                                               Page 1 of 1

                                                  DISTRICT OF COLUMBIA CIRCUIT
                                                                       333 Constitution Avenue, NW
                                                                        Washington, DC 20001-2866
                                                               Phone: 202-216-7000 | Facsimile: 202-219-8530


                    American Society for Testing and Materials; National Fire Protection Association, Inc; American Society of Heating,

 Case Caption:
                    Refrigerating, and Air-Conditioning Engineers, Inc.




                                                                                                                                                            22-7063
                                                                          v.                                                                  Case No:
                    Public.Resource.Org, Inc.,




                                                                              ENTRY OF APPEARANCE

The Clerk shall enter my appearance as                                                   Retained                             Pro Bono             Appointed (CJA/FPD)       Gov't counsel
for the     Appellant(s)/Petitioner(s)                                       Appellee(s)/Respondent(s)                                             Intervenor(s)      Amicus Curiae below:

                                                                                            Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)
 Prime Access Consulting, Inc.




                                                                                       Counsel Information
Lead Counsel: Blake E. Reid

                  303              746-1896                                                                                               Email: blake.reid@colorado.edu
Direct Phone: (            )                                        Fax: (                          )

2nd Counsel:

                                                                                                                                          Email:
Direct Phone: (           )                                         Fax: (                         )
3rd Counsel:

                                                                                                                                          Email:
Direct Phone: (           )                                         Fax: (                         )
Firm Name:

Firm Address:

                                                                                                                                          Email:
Firm Phone: (             )                                         Fax: (                         )

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
                                                      Save                                              Reset Form                                 Print Form
March 2017 (REVISED)
